            Case 5:11-cv-01298-W Document 19 Filed 01/06/12 Page 1 of 2



GARY MORRIS
CANDICE MORRIS
1805 N.E. 67th Street
                                                                          'lE D
                                                                        JAN 06 2012
Oklahoma City, OK 73111
(214) 628-1817
                                                               Us
Plaintiffs, In Propria Persona


                     IN THE UNITED STATES DISTRICT COURT FOR
                        THE WESTERN DISTRICT OF OKLAHOMA


GARY MORRIS and                           )
CANDICE MORRIS,                           )
                                          )
       Plaintiffs,                        )       NO: CIV-II-456-W
                                          )
       v.                                 )
                                          )       PLAINTIFFS' NOTICE OF
MARY L. BERRY, individually and           )       VOLUNTARY DISMISSAL PURSUANT
doing business as Century 21 ALL PRO      )       TO F.RC.P. 41(a)(1)(A)(i)
REAL TY; KEENAN KlRBY, an                 )
individual; RONALD W. MURRAY, an          )
individual; LARETT A M. MURRAY, an        )
individual; JENNIFER L. WIEWEL, an        )
individual; JDOES 1-10; and FEDERAL       )
NATIONAL MORTGAGE                         )
ASSOCIATION d/b/a FANNIE MAE              )

       Defendants.

    NOTICE OF VOLUNTARY DISMISSAL PURSUANT TO F.R.C.P. 41(a)(1 )(A)(i)

Pursuant to F.R.C.P. 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the

Pro Se Plaintiff(s) : Gary Morris and Candice Morris, hereby give notice that the above

captioned action is voluntarily dismissed, without prejudice against the defendant:

FEDERAL NATIONAL MORTGAGE ASSOCIATION d/b/a FANNIE MAE

       Submitted on this "day of January, 2012.


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GARMJ5RRIS
                                                   ~. ~
                                                CANDICE MORRIS
                                                                                      

PO. Box 57403                                   1805 NE 67th Street
Oklahoma City, OK 73157                         Oklahoma City, OK 73111
(214) 628-1817                                  (214) 628-1817
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                IN THE UNITED STATES DISTRICT COURT FOR 

                   THE WESTERN DISTRICT OF OKLAHOMA 

CIV-11-456-W 


                                  CERTIFICATE OF SERVICE

This is to certify that on this " th day of JANUARY, 2012, I deposited a copy of 

PLAINTIFFS' VOLUNTARY DISMISSAL in the U.S. mail with sufficient postage attached to 

the following : 


Blake e. Parrott, OBA # 18799 

Baer, Timberlake, Coulson, & Cates, P.e. 

P.O. Box 18486
Oklahoma City, OK 73 154-0486
405-429-5205 /405-429-5216 (fax)
Email: bparrott@baer-timberlake.com
ATTORNEY FOR DEFENDANT: 

Federal National Mortgage Association d/b/a Fannie Mae 


I declare under penalty of perjury that this information is true.


                                           ~/~
                                       Candice Morris, Pro Se Plaintiff
                                       1805 NE 67th Street
                                       Oklahoma City, OK 73111
                                       Candice. morris@yahoo.com
                                       214-628-1817
